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 5
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 6   WEIJING TANG
 7

 8                                  UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA
10   WEIJING TANG,                                        Case No.:
                                                          VERIFIED COMPLAINT FOR
11
                          Plaintiff.                      DECLARATORY AND INJUNCTIVE
12                                                        RELIEF
                               v.
13                                                        EMERGENCY RELIEF SOUGHT
     The regents of the university of California; Dr.
14   Ellen lumpkin, in her official capacity as head
     graduate advisor of the molecular and cell
15   biology department at the university of
     California, Berkeley; Dr. Matthew welch, in
16   his official capacity as co-chair of the
     Molecular and cell biology department at the
17
     university of California, Berkeley; Dr. Rebecca
18   Heald, in her official capacity as co-chair of the
     Molecular and cell biology department at the
19   University of California, Berkeley; and Carina
     Galicia, in her official capacity as director of
20   Student services of the molecular and cell
21   biology department at the University of
     California, Berkeley
22
                         Defendant.
23

24                                          INTRODUCTION
        1. This is an action for declaratory and injunctive relief arising from Defendants' ongoing
25
            pattern of arbitrary, capricious, discriminatory, and retaliatory actions against Plaintiff
26
            Weijing Tang, an international Ph.D. student in the Molecular and Cell Biology ("MCB")
27
            program at the University of California, Berkeley.
28
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 1   2. Ms. Tang was scheduled to be dismissed from her Ph.D. program on May 15, 2025—a
 2      development that would result in the immediate loss of her student visa status, compel

 3      her departure from the United States, and inflict irreparable harm on her academic career
        and future professional opportunities.
 4
     3. Despite Ms. Tang's diligent efforts to secure a new lab placement following the
 5
        relocation of her previous advisor and documented technical interference with her
 6      communication capabilities, Defendants have erected a series of arbitrary barriers
 7      designed to force her out of the program before the May 15, 2025 deadline.
 8   4. These actions appear to be motivated, at least in part, by Defendants' discriminatory

 9      practices against Ms. Tang based on her national origin. While the department ultimately
        paid the Non-Resident Supplemental Tuition (NRST) in certain instances, Defendants
10
        have repeatedly used Ms. Tang's NRST obligation as a barrier to her securing lab
11
        placement. Specifically, Defendants have misrepresented to potential faculty mentors that
12
        they, rather than the department, would be responsible for paying Ms. Tang's NRST fees,
13      thereby characterizing her as an exceptionally "expensive" student due solely to her status
14      as an international student. This pattern of conduct violates federal law prohibiting

15      discrimination based on national origin and has directly impeded Ms. Tang's academic
        progress and professional development.
16
     5. Additionally, Ms. Tang has filed two complaints with the Office for Civil Rights (OCR)
17
        on April 25, 2025, and May 5, 2025. Her impending dismissal during the pendency of
18
        these complaints constitutes further retaliation and would effectively undermine the OCR
19      investigation process.
20                                 JURISDICTION AND VENUE
21   6. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331
        (federal question) because it arises under Title VI of the Civil Rights Act of 1964, 42
22
        U.S.C. § 2000d et seq.
23
     7. This Court has supplemental jurisdiction over Plaintiff's state law claims pursuant to 28
24
        U.S.C. § 1367.
25   8. Venue is proper in the Eastern District of California pursuant to 28 U.S.C. § 1391(b)
26      because a substantial part of the events or omissions giving rise to the claims occurred in
27      this district, and Defendant Regents of the University of California is subject to personal

28      jurisdiction in this district.
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 1                                             PARTIES
 2   9. Plaintiff Weijing Tang is a citizen of the People's Republic of China and a Ph.D. student

 3      in the Molecular and Cell Biology program at the University of California, Berkeley. She
        resides in Berkeley, California.
 4
     10. Defendant Regents of the University of California ("Regents") is the governing body of
 5
        the University of California system, a public university system in the State of California.
 6      The Regents is a corporation established under the Constitution of the State of California
 7      with the power to sue and be sued.
 8   11. Defendant Dr. Ellen Lumpkin is the Head Graduate Advisor of the Molecular and Cell

 9      Biology Department at the University of California, Berkeley. She is sued in her official
        capacity.
10
     12. Defendant Dr. Matthew Welch is the Co-Chair of the Molecular and Cell Biology
11
        Department at the University of California, Berkeley. He is sued in his official capacity.
12
     13. Defendant Dr. Rebecca Heald is the Co-Chair of the Molecular and Cell Biology
13      Department at the University of California, Berkeley. She is sued in her official capacity.
14   14. Defendant Carina Galicia is the Director of Student Services of the Molecular and Cell

15      Biology Department at the University of California, Berkeley. She is sued in her official
        capacity.
16
                                   FACTUAL ALLEGATIONS
17
                                               Background
18
     15. Ms. Tang was admitted to the Molecular and Cell Biology Ph.D. program at UC Berkeley
19      as a Sponsored Direct Admit ("SD") student in February 2022, with Dr. Polina Lishko as
20      her sponsoring faculty member.
21   16. Ms. Tang's admission letter, dated February 25, 2022, guaranteed her "support for the
        entire duration of the program (per department policy)" including an annual stipend,
22
        tuition, fees, and health insurance.
23
     17. In April 2022, prior to Ms. Tang's matriculation, Dr. Lishko notified Ms. Tang and the
24
        MCB department that she was leaving UC Berkeley to join Washington University in St.
25      Louis.
26   18. The MCB department required Ms. Tang to find another sponsoring faculty member
27      before her matriculation in Fall 2022, giving her only three months to secure another lab

28      placement.
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 1         19. In June 2022, Ms. Tang secured provisional placement in Dr. Andrew Dillin's lab..
 2                                        Harassment in the Dillin Lab

 3         20. Beginning in December 2022, Ms. Tang experienced harassment from a postdoctoral
              researcher named Hanlin Zhang, who was assigned to supervise her in the Dillin lab.
 4
           21. Hanlin frequently made comments to other lab members implying that, due to Ms. Tang's
 5
              computer science background, she lacked the necessary biological knowledge to
 6            contribute meaningfully to the lab's work. These remarks undermined Ms. Tang's
 7            qualifications, despite her bachelor's degree in biological sciences and three years of
 8            Alzheimer's research experience at Stanford University.

 9         22. Hanlin appeared to discourage other lab members from interacting with Ms. Tang,
              contributing to her professional isolation within the lab.
10
           23. While still in the Dillin lab, Ms. Tang reported these issues only to the lab manager. After
11
              leaving the lab, she formally reported the matter to the Office for the Prevention of
12
              Harassment and Discrimination (OPHD), Employee & Labor Relations (ELR), and the
13            office addressing abusive misconduct in April 2024.
14         24. In June 2023, Ms. Tang left the Dillin lab due to the hostile work environment.

15            Defendants' Arbitrary Actions Following Ms. Tang's Departure from the Dillin Lab
           25. Following her departure, Dr. Dillin withdrew his financial support for Ms. Tang in July
16
              2023.
17
           26. In August 2023, Ms. Tang was offered only a single two-month rotation by the MCB
18
              department, rather than the standard three 10-week rotations typically provided to
19            graduate students in her program.
20         27. This rotation was presented without the required formal paperwork, such as a signed
21            rotation agreement form, which is standard protocol in the program.
           28. Ms. Tang was informed that her funding would be terminated following the completion
22
              of this short rotation.
23
           29. The position offered to Ms. Tang was as an unpaid "Student Researcher," which is
24
              inconsistent with departmental policies regarding financial aid and student support.
25         30. In contrast, another domestic student, Dylan Aiden, who was in a similar position with
26            respect to lab placement, received full funding and was not subject to the same reduction
27            in support or shortened rotation.

28   ///
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 1   ///
 2                                 Unfair Grading and Academic Probation

 3         31. In August 2023, Head Graduate Advisor Ellen Lumpkin required Ms. Tang to register for
              research credit under Dr. Lumpkin's name, rather than under the Principal Investigators
 4
              with whom Ms. Tang was rotating (Dr. Staller and Dr. Lucas), contrary to department
 5
              policy.
 6         32. Despite fulfilling the program's requirements, Ms. Tang received a B+ grade from Dr.
 7            Lumpkin, while Dylan Aiden, in the same situation, received an A or A- grade for the
 8            same course. Ms. Tang has evidence of text message exchanges confirming this disparity

 9            in treatment.
           33. On October 27, 2023, Ms. Tang was placed on academic probation, ostensibly for
10
              "inadequate progress in research and training skills," despite maintaining a GPA above
11
              3.7, which exceeds the department's definition of "satisfactory performance" (a GPA
12
              above 3.0).
13         34. The probation letter required Ms. Tang to secure a lab placement within six weeks (by
14            December 15, 2023) or face dismissal from the program.

15         35. Multiple faculty members who expressed interest in working with Ms. Tang, including
              Dr. Ian Swinburne, Dr. Gokul Upadhyayula, Dr. Frederic Theunissen, Dr. Iswar
16
              Hariharan, and Dr. Sam Lewis, indicated that this timeframe was insufficient to properly
17
              evaluate her as a potential student.
18
           36. When professors contacted the Head Graduate Advisor or Graduate Affairs Office to
19            inquire about Ms. Tang, these opportunities consistently closed soon afterward,
20            suggesting that negative information was being provided.
21         37. During Fall 2023, Ms. Tang was supposed to have a GSI appointment for which she had
              already received an offer letter dated May 30, 2023. However, this appointment was
22
              revoked by the department on August 16, 2023, citing her lack of a permanent lab
23
              placement.
24
           38. In early December 2023, during a meeting with Carina Galicia (GSAO), Ms. Tang
25            inquired about the availability of funding within the department. Ms. Galicia responded,
26            "We have enough funding, we just don't want to provide it to you," revealing the
27            discriminatory intent behind the department's actions.

28                                Withdrawal and Re-enrollment Conditions
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 1   39. Ms. Tang's mental well-being and financial stability deteriorated significantly under the
 2      weight of insurmountable barriers and looming dismissal threats. With no viable

 3      alternatives, she reluctantly took a medical withdrawal from the program for the Spring
        2024 semester to continue her lab placement search while focusing on her health
 4
        recovery.
 5
     40. On December 7, 2023, the MCB department issued a letter outlining conditions for Ms.
 6      Tang's re-enrollment, including: (1) securing a lab placement with a faculty member who
 7      could commit to funding her, and (2) remaining on probationary status until earning a
 8      grade of B or better in MCB 292 and an advanced topics course.

 9                     Continued Obstacles Despite Securing Lab Placemen
     41. Throughout Spring and Summer 2024, Ms. Tang continued her efforts to secure a lab
10
        placement, reaching out to numerous faculty members and attending interviews.
11
     42. In May-June 2024, Ms. Tang began interviewing with Dr. Lea Grinberg, who expressed
12
        interest in having her join her lab. By June 2024, Dr. Grinberg confirmed that she had
13      funding available and could take Ms. Tang into her lab.
14   43. In July and August 2024, when Dr. Grinberg contacted the MCB department, she was

15      told that she would be required to pay Ms. Tang's NRST fees and that Ms. Tang would be
        placed on probation. This was communicated to Dr. Grinberg despite the fact that Ms.
16
        Tang was still appealing her probation status to the Graduate Division, and a decision had
17
        not yet been rendered.
18
     44. Ms. Tang had secured a GSI position with the Bioengineering Department for Fall 2024,
19      which would have provided financial support. However, she lost this position because
20      MCB delayed processing her re-enrollment paperwork until September 26, 2024—just
21      one day before her visa would have expired.
     45. On August 28, 2024, both Dr. Grinberg and Dr. James Olzmann (who agreed to serve as
22
        Ms. Tang's MCB mentor) signed the paperwork for her to join their labs. When Ms. Tang
23
        submitted this to the GSAO, they imposed additional requirements, including requiring
24
        Dr. Grinberg to sign a Sponsored Direct Admission policy and provide "funding for joint
25      labs," requirements that were not imposed on other students.
26   46. After a petition letter sent out by the student union and signed by more than half of the
27      graduate students in MCB (221 students) was delivered to the department expressing

28      concern about Ms. Tang's treatment, she was finally readmitted to the program in
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 1      September 2024. However, she was maintained on probationary status and subjected to
 2      various restrictions.

 3   47. Ms. Tang officially joined Dr. Grinberg's lab on October 28, 2024, after the lengthy
        paperwork process. By this time, she had already lost the GSI position with
 4
        Bioengineering that she had secured for Fall 2024.
 5
                           Policy Changes and Dr. Grinberg's Relocation
 6   48. On November 26, 2024, Dr. Grinberg formally informed MCB of her lab's upcoming
 7      relocation to the Mayo Clinic in Florida.
 8   49. During a meeting with Dr. Grinberg, MCB Chair Rebecca Heald, the GSAO, and the

 9      HGA, Ms. Tang inquired about the possibility of remaining enrolled at Berkeley while
        continuing her research remotely under Dr. Grinberg's mentorship. Ms. Tang was
10
        informed that MCB had recently changed its policy to allow students only one lab switch,
11
        meaning she would have to transfer out of Berkeley and leave the program.
12
     50. This policy change directly contradicted MCB's January 2024 guidelines, which
13      explicitly state that PIs are expected to support directly admitted students during lab
14      transitions.

15   51. Despite Ms. Tang's repeated requests for meetings to discuss her situation in December
        2024 and January 2025, she received no response from the department until late January,
16
        when Department Chair Matthew Welch and Manager Mark Jackson met with her and
17
        her union representative and granted her permission to transfer labs.
18
              Health Insurance, Improper Appointment Processing, and Termination
19   52. In February 2025, Ms. Tang discovered that her health insurance had not been paid for
20      the first two months of the semester, leaving her without coverage while she was sick for
21      a month. She reported this to Dr. Grinberg, who referred her to Carina Galicia.
     53. In March 2025, Ms. Tang began receiving repeated tuition billing notices. Upon
22
        investigation, she discovered that her GSR appointment had been improperly processed.
23
        Instead of being employed by UC Berkeley with a co-advisor in MCB listing her in their
24
        lab (as is standard practice for students working at UCSF), she had been directly hired by
25      UCSF without proper work authorization.
26   54. This processing error constituted a serious procedural error in her academic appointment.
27      When the Student Union filed a grievance about this issue, instead of helping to resolve

28      the situation, the university terminated Ms. Tang's GSR appointment on March 21, 2025.
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 1   55. On March 14, 2025, just one day after the Union contacted Ms. Tang's previous lab about
 2      the required fee remission, Ms. Tang received a probation letter from HGA Ellen

 3      Lumpkin threatening dismissal if she did not secure a lab placement by May 15, 2025.
        This letter altered the probation conditions outlined in the original December 7, 2023
 4
        letter.
 5
                              Current Lab Placement Efforts and Email Issues
 6   56. Since March 21, 2025, Ms. Tang has been actively seeking a new lab placement. She has
 7      met with numerous professors who have expressed interest in having her join their labs,
 8      including:

 9          a. Prof. Reza Abbasi-Asl, who indicated that a four-week rotation in his lab would
                  be required for consideration for transfer to the CPH or other programs he
10
                  affiliated with.
11
            b. Prof. Doris Bachtrog, who requested a rotation before making any decision. While
12
                  she did not specify the duration, she mentioned that two weeks would be
13                insufficient for proper evaluation.
14          c. Prof. Charles Chiu, who shared details about his current projects and invited Ms.

15                Tang to join lab meetings. He also requested references, which Ms. Tang
                  promptly submitted.
16
            d. Prof. Michael Oldham, who asked whether MCB would permit Ms. Tang to hold
17
                  three semesters of GSI positions while working in his lab, as this could impact his
18
                  decision.
19          e. Prof. Daniel Mordes, who expressed interest in discussing research papers with
20                Ms. Tang.
21          f. Prof. Kristofer Bouchard, who noted that a three-month rotation would be
                  required.
22
            g. Professors Franklin Huang, Walter Gonzalez, Wendy Yue, and Jennifer
23
                  Rosenbluth, Bill Beeley all of whom have scheduled interviews with Ms. Tang.
24
     57. Since April 17, 2025, Ms. Tang has been experiencing significant issues with her email
25      accounts, where both incoming and outgoing messages are not being properly delivered
26      or received. This is severely hindering her ability to communicate effectively with
27      potential lab placements.

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 1   58. Ms. Tang promptly reported this issue to UC Berkeley's IT Client Services and the IT
 2      Help Desk, who confirmed on April 30, 2025, that there was a problem with her email

 3      delivery. They verified that emails she sent were not being received by recipients, and
        emails sent to her were not appearing in her inbox. The IT departments indicated this may
 4
        be an administrative issue on their end, and there is currently no solution available on her
 5
        side.
 6                            OCR Complaints and Further Retaliation
 7   59. On April 25, 2025, and May 5, 2025, Ms. Tang filed formal complaints with the Office
 8      for Civil Rights (OCR) in the Department of Education regarding discrimination and

 9      retaliation she has experienced at UC Berkeley.
     60. On May 5, 2025, at 6:00 AM, Ms. Tang formally notified the Division of Equity and
10
        Inclusion, Title IX Office, Student Affairs Office, MCB department, and the Graduate
11
        Division at UC Berkeley of her complaint to the Office for Civil Rights (OCR) and
12
        requested temporary protective measures. Later that day, at 11:00 AM, she received a
13      decision from the Computational Precision Health program stating that she would need to
14      reapply in the next application cycle, despite her application having been under review

15      for several weeks.
     61. Ms. Tang has repeatedly requested an extension of the May 15, 2025 deadline to
16
        accommodate the email issues and the professors' requests for more time to evaluate her
17
        properly. These requests have been denied.
18
                                   FIRST CLAIM FOR RELIEF
19              Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq.
20                                       (Against All Defendants)
21   62. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.
     63. Title VI of the Civil Rights Act of 1964 prohibits discrimination on the basis of race,
22
        color, or national origin in programs or activities receiving federal financial assistance.
23
     64. The University of California, Berkeley, receives federal financial assistance and is
24
        therefore subject to Title VI.
25   65. Defendants have discriminated against Ms. Tang on the basis of her national origin
26      (Chinese) by:
27          a. Applying academic policies against her compared to similarly situated domestic

28              students;
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 1          b. Using her international student status and associated NRST costs as a basis for
 2                denying her opportunities afforded to domestic students;

 3          c. Establishing unreasonable timelines and conditions that disproportionately impact
                  international students;
 4
            d. Making disparaging comments about her language skills;
 5
            e. Actively discouraging faculty from accepting her into their labs;
 6          f. Terminating her funding while maintaining funding for similarly situated
 7                domestic students;
 8          g. Assigning her a lower grade than a similarly situated domestic student for the

 9                same course under identical circumstances; and
            h. Imposing additional requirements and barriers for her lab placement that were not
10
                  imposed on domestic students.
11
     66. As a direct and proximate result of Defendants' discriminatory actions, Ms. Tang has
12
        suffered and continues to suffer substantial injury, including emotional distress, loss of
13      educational opportunities, loss of financial support, potential loss of her student visa
14      status.

15                                SECOND CLAIM FOR RELIEF
     Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq. - Retaliation
16
                                        (Against All Defendants)
17
     67. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.
18
     68. Title IX prohibits retaliation against individuals who complain about sex discrimination
19      or other Title IX violations.
20   69. Ms. Tang engaged in protected activity when she reported harassment to various
21      university offices and when she filed complaints with OCR alleging discrimination and
        retaliation.
22
     70. After engaging in these protected activities, Ms. Tang suffered adverse actions, including:
23
            a. The threat of dismissal from her academic program;
24
            b. The imposition of unreasonable conditions for remaining in the program;
25          c. The loss of funding and employment opportunities; and
26          d. The rejection from the Computational Precision Health program immediately
27                after she informed the university of her OCR complaint.

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 1         71. There is a causal connection between Ms. Tang's protected activities and these adverse
 2            actions, as evidenced by the timing of the adverse actions and the pattern of escalating

 3            barriers placed in her path.
           72. As a direct and proximate result of Defendants' retaliatory actions, Ms. Tang has suffered
 4
              and continues to suffer substantial injury, including emotional distress, loss of
 5
              educational opportunities, and potential loss of her student visa status.
 6                                      THIRD CLAIM FOR RELIEF
 7                      Violation of Due Process Under the Fourteenth Amendment
 8                                            (Against All Defendants)

 9         73. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.
           74. The Fourteenth Amendment to the United States Constitution prohibits state actors from
10
              depriving individuals of life, liberty, or property without due process of law.
11
           75. Ms. Tang has a protected property interest in her continued enrollment in the MCB Ph.D.
12
              program, as established by her admission letter and the university's policies and
13            procedures.
14         76. Ms. Tang also has a liberty interest in pursuing her chosen profession, which requires

15            completion of her Ph.D.
           77. Defendants have violated Ms. Tang's due process rights by:
16
                  a. Placing her on academic probation without adequate justification or evidence;
17
                  b. Failing to follow established university procedures regarding lab rotations,
18
                      funding, and academic progress;
19                c. Establishing arbitrary and unreasonable deadlines for securing lab placement;
20                d. Inconsistently applying academic policies in a manner that disadvantages her;
21                e. Retroactively changing policies regarding lab transfers, definition of 'satisfactory
                      performance' and applying them to her situation; and
22
                  f. Failing to provide a fair and impartial process for appealing adverse decisions.
23
           78. As a direct and proximate result of Defendants' actions, Ms. Tang has suffered and
24
              continues to suffer substantial injury, including emotional distress, loss of educational
25            opportunities, and potential loss of her student visa status.
26   ///
27   ///

28   ///
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 1                               FOURTH CLAIM FOR RELIEF
 2                                       Breach of Contract

 3                                   (Against Defendant Regents)
     79. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.
 4
     80. A contract existed between Ms. Tang and the University of California, Berkeley, as
 5
        evidenced by her admission letter dated February 25, 2022, and the university's policies
 6      and procedures.
 7   81. This contract guaranteed Ms. Tang "support for the entire duration of the program (per
 8      department policy)" including an annual stipend, tuition, fees, and health insurance.

 9   82. The university breached this contract by:
            a. Terminating Ms. Tang's funding after September 2023;
10
            b. Failing to provide the rotations and research opportunities promised;
11
            c. Imposing conditions and requirements not specified in the original agreement;
12
            d. Failing to honor the MCB Sponsored Direct Admission Policy, which as revised
13              in January 2024 requires continuing financial support until a new research
14              supervisor is found; and

15          e. Refusing to allow Ms. Tang to accept GSI positions that would provide financial
                support.
16
     83. As a direct and proximate result of Defendant's breach, Ms. Tang has suffered damages
17
        including loss of funding, additional expenses, and potential inability to complete her
18
        Ph.D. program.
19                                 FIFTH CLAIM FOR RELIEF
20           Violation of California's Unruh Civil Rights Act, Cal. Civ. Code § 51
21                                     (Against All Defendants)
     84. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.
22
     85. The Unruh Civil Rights Act prohibits discrimination on the basis of national origin in all
23
        business establishments in California, including public universities.
24
     86. Defendants have discriminated against Ms. Tang on the basis of her national origin by
25      treating her differently from similarly situated domestic students with respect to academic
26      requirements, funding opportunities, and lab placement procedures.
27   87. As a direct and proximate result of Defendants' actions, Ms. Tang has suffered damages,

28      including emotional distress and loss of educational opportunities.
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 1                                         SIXTH CLAIM FOR RELIEF
 2                                             Declaratory Relief

 3                                           (Against All Defendants)
         88. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.
 4
         89. An actual controversy has arisen between Ms. Tang and Defendants regarding her rights
 5
              under federal and state law, as well as university policies and procedures.
 6       90. Ms. Tang seeks a declaration that Defendants' actions violate Title VI of the Civil Rights
 7            Act, Title IX of the Education Amendments of 1972, the Fourteenth Amendment,
 8            California's Unruh Civil Rights Act, and constitute a breach of contract.

 9                                           PRAYER FOR RELIEF
     WHEREFORE, Plaintiff respectfully requests that this Court:
10
     A. Issue a temporary restraining order and preliminary injunction:
11
         1.        Prohibiting Defendants from dismissing Ms. Tang from the MCB Ph.D. program on
12
                   May 15, 2025, or at any time based on the current probationary status;
13       2.        Directing Defendants to extend Ms. Tang's deadline to secure a lab placement and
14                 receive support from MCB for at least 90 additional days;

15       3.        Prohibiting Defendants from interfering with or impeding Ms. Tang's
                   communications with faculty members regarding potential lab placements;
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         4.        Requiring Defendants to maintain Ms. Tang's student status and visa eligibility during
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                   this extended period;
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         5.        Allowing Ms. Tang to accept any Graduate Student Instructor position she has been
19                 offered or may be offered during this period; and
20       6.        Requiring Defendants to preserve all evidence related to Ms. Tang's email delivery
21                 logs, auto-routing configurations, employment processing, and lab placement efforts;
     B. Issue a permanent injunction prohibiting Defendants from discriminating against Ms. Tang on
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     the basis of her national origin and from retaliating against her for engaging in protected
23
     activities;
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     C. Declare that Defendants' actions violate Title VI of the Civil Rights Act, Title IX of the
25   Education Amendments of 1972, the Fourteenth Amendment, California's Unruh Civil Rights
26   Act, and constitute a breach of contract;
27   D. Award compensatory damages in an amount to be determined at trial;

28   E. Award reasonable attorneys' fees and costs pursuant to applicable law; and
           VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1   F. Grant such other and further relief as the Court deems just and proper.
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 3   Dated: May 27, 2025

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     Respectfully submitted,
 5
     THE LAW OFFICES OF JAMES L. ARRASMITH
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 7   By: ________________________________
 8   FAITH HASHEMI, (SBN # 338912)

 9   Attorney for Plaintiff
     WEIJING TANG
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          VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  Page 14 of 15
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 1                                             VERIFICATION
 2

 3   I, WEIJING TANG, declare as follows:

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     I am the Plaintiff in this action. I have read the foregoing Verified Complaint and know its
 5
     contents. The facts alleged in the Verified Complaint are within my personal knowledge and I
 6   know these facts to be true. I declare under penalty of perjury under the laws of the United States
 7   that the foregoing is true and correct.
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 9   Executed on May 27, 2025, at Berkeley, California.

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     ________________________
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     WEIJING TANG
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          VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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